

Matter of Tikiya S. v Kyle R.G. (2024 NY Slip Op 00988)





Matter of Tikiya S. v Kyle R.G.


2024 NY Slip Op 00988


Decided on February 27, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: February 27, 2024

Before: Singh, J.P., Friedman, González, Higgitt, Michael, JJ. 


Docket No. O-02145/22 Appeal No. 1754 Case No. 2023-02872 

[*1]In the Matter of Tikiya S., Petitioner-Appellant,
vKyle R.G., Respondent-Respondent.


Andrew J. Baer, New York, for appellant.
Carol Kahn, New York, for respondent.



Order, Family Court, New York County (Valerie A. Pels, J.), entered on or about November 29, 2022, which, after a fact-finding hearing, found that petitioner failed to establish the family offenses of harassment in the first and second degrees and dismissed the family offense petition with prejudice, unanimously affirmed, without costs.
Petitioner failed to establish the family offense of harassment in the first degree, because the alleged events—the 2018 knife incident and the strangulation incident—were single incidents and this family offense requires proof of a course of conduct or repeated commission of acts of harassment (see Matter of Melissa N. v Jeffrey B., 176 AD3d 519, 519 [1st Dept 2019], lv denied 34 NY3d 909 [2020]).
Family Court properly declined to consider petitioner's testimony about the strangulation incident, which was not alleged in the family offense petition (see Matter of Tawanda A.A. v Joseph D.A., 188 AD3d 401, 402 [1st Dept 2020]). Regarding the 2018 knife incident, we see no reason to disturb the Family Court's findings, namely that petitioner failed to demonstrate that respondent brandished a knife "with intent to harass, annoy or alarm" her (Penal Law § 240.26).
We have considered petitioner' remaining arguments, including her claim that she was deprived of the effective assistance of counsel, and find them unavailing. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: February 27, 2024








